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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF FLORIDA
                               PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                                    Case Nos.   3:08cr61/LAC/CJK
                                                                  3:11cv254/LAC/CJK
ADRIAN CATHWON
                                     /
                                           ORDER

       This cause comes on for consideration upon the magistrate judge’s Report and
Recommendation dated September 10, 2013 (doc. 505). Defendant has been furnished a copy of the
Report and Recommendation and has been afforded an opportunity to file objections pursuant to
Title 28, United States Code, Section 636(b)(1). I have made a de novo determination of the
objections filed.
       Having considered the Report and Recommendation, and the timely filed objections thereto,
I have determined that the Report and Recommendation should be adopted.
       Accordingly, it is now ORDERED as follows:
       1. Defendant’s amended motion to vacate, set aside, or correct sentence (doc. 435) is
DENIED.
       2. A certificate of appealability is DENIED.
       DONE AND ORDERED this 2nd day of October, 2013.




                                            s /L.A. Collier
                                            LACEY A. COLLIER
                                            SENIOR UNITED STATES DISTRICT JUDGE
